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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

JOSEFINA DOE; ISABELA DOE;
COMMOR JEROME WELCH;
FELIPE NIOMAR MARTINEZ
ORTIZ; and JOSE DOE;                     Civil Action No. 2:24-cv-9105
on behalf of themselves and all others
similarly situated, and
THE AMERICAN FRIENDS                     INDIVIDUAL PLAINTIFFS’
SERVICE COMMITTEE,                       NOTICE OF MOTION FOR
IMMIGRANT RIGHTS PROGRAM,                CLASS CERTIFICATION AND
                                         APPOINTMENT OF CLASS
                Plaintiffs,              COUNSEL

v.
                                         ORAL ARGUMENT REQUESTED
U.S. DEPARTMENT OF
HOMELAND SECURITY;
U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT;

ALEJANDRO MAYORKAS,
Secretary of the Department of
Homeland Security, in his official
capacity;

PATRICK J. LECHLEITNER,
Acting Director of Immigration and
Customs Enforcement (“ICE”), in his
official capacity;

DANIEL A. BIBLE,
Executive Associate Director of ICE’s
Enforcement and Removal Operations,
in his official capacity;

CAMMILLA WAMSLEY,
Field Office Director for the ICE



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Philadelphia Field Office, in her
official capacity;

FRANCIS KEMP,
Assistant Field Office Director for the
ICE Philadelphia Field Office, in his
official capacity,

                Defendants.


TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

      PLEASE TAKE NOTICE that on October 7, 2024, or as soon as counsel

may be heard, the undersigned attorneys for Plaintiffs Josefina Doe, Isabela Doe,

Commor Jerome Welch, Felipe Niomar Martinez Ortiz, and Jose Doe individually

and on behalf of all others similarly situated (collectively, “Individual Plaintiffs”),

shall move before an Honorable Judge of the United States District Court for the

District of New Jersey, Newark Vicinage, for an Order pursuant to Rules 23(a),

(b)(2), and (g) of the Federal Rules of Civil Procedure to (1) certify the Proposed

Class (as defined within the Class Action Complaint and enclosed Memorandum of

Law); (2) appoint Individual Plaintiffs to serve as representatives of the class; and

(3) appoint Lowenstein Sandler LLP, the Legal Services of New Jersey, and the

Harvard Immigration & Refugee Clinical Program as Co-Class Counsel.

      PLEASE TAKE FURTHER NOTICE that in support of this Motion, the

Individual Plaintiffs rely upon the accompanying (1) Memorandum of Law;

(2) Declaration of Gavin J. Rooney, Esq.; (3) Declaration of Shira Wisotsky, Esq.;

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(4) Declaration of Tiffany Lieu, Esq.; (5) Declaration of Ian Peacock, Ph.D.;

(6) Declaration of Josefina Doe; (7) Declaration of Isabela Doe; (8) Declaration of

Commor Jerome Welch; (9) Declaration of Felipe Niomar Martinez Ortiz; and

(10) Declaration of Jose Doe.

      PLEASE TAKE FURTHER NOTICE that a proposed form of Order is

submitted herewith pursuant to Local Civil Rule 7.1(e).


Dated: September 11, 2024             By:       /s/ Gavin J. Rooney
                                              Gavin J. Rooney, Esq.
                                              Alexander Shalom, Esq.
                                              Natalie J. Kraner, Esq.
                                              Naomi D. Barrowclough, Esq.
                                              Anish Patel, Esq. (pro hac vice motion
                                              forthcoming)
                                              Ruth Zimmerman, Esq.
                                              LOWENSTEIN SANDLER LLP
                                              One Lowenstein Drive
                                              Roseland, New Jersey 07068
                                              973-597-2500

                                              Shira Wisotsky, Esq.
                                              Raquiba Huq, Esq.
                                              Zoe Burke, Esq.
                                              Emily Thorton, Esq. (pro hac vice
                                              motion forthcoming)
                                              LEGAL SERVICES OF NEW
                                              JERSEY
                                              P.O. Box 1357
                                              Edison, New Jersey 08818
                                              908-882-2665




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                                      Tiffany Lieu, Esq. (pro hac vice motion
                                      forthcoming)
                                      Philip L. Torrey, Esq. (pro hac vice
                                      motion forthcoming)
                                      CRIMMIGRATION CLINIC
                                      HARVARD LAW SCHOOL
                                      IMMIGRATION &
                                      REFUGEE CLINICAL PROGRAM
                                      6 Everett Street, Suite 3106
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                                      617-496-5497

                                      Pro Bono Counsel for Plaintiffs




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